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   ABRAHAM CHAVEZ
 6
 7
 8                              UNITED STATES DISTRICT COURT
 9                EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10
11 UNITED STATES OF AMERICA,                            Case No. 1:15-cr-00169-DAD-BAM-5
12                              Plaintiff,              REQUEST FOR RULE 43 WAIVER OF
                                                        APPEARANCE FOR DEFENDANT
13                      v.                              ABRAHAM CHAVEZ;
                                                        ORDER THEREON
14 ABRAHAM CHAVEZ,
15                              Defendant.
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17
18 TO THE HONORABLE COURT:
19 Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Defendant, Abraham Chavez, having
20 been advised of his right to be present at all stages of the proceedings, hereby requests that this
21 Court proceed in his absence on every occasion that the Court may permit, pursuant to this
22 waiver. Specifically, Defendant requests a waiver of appearance for the Status Conference on
23 January 16, at 10:00 AM. Defendant agrees that his interests shall be represented at all times
24 by the presence of his attorney, Kevin G. Little, the same as if Defendant were personally
25 present, and requests that this Court allow his attorney-in-fact to represent his interests at all
26 times. Defendant further agrees that notice to Defendant’s attorney that Defendant’s presence
27 is required will be deemed notice to the Defendant of the requirement of his appearance at said
28 time and place. Defendant understands that he will need to be present at any hearing involving
     REQUEST FOR RULE 43 WAIVER OF APPEARANCE FOR DEFENDANT ABRAHAM CHAVEZ; ORDER THEREON
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 1 any substantive issue. Defendant respectfully requests that the Court waive his appearance at
 2 the January 16, 2018 status conference hearing, and all future non-substantive hearings.
 3
 4                                                 Respectfully submitted,
 5
 6
 7          DATED: January 10, 2018                /s/ Kevin G. Little
                                                   KEVIN G. LITTLE
 8                                                 Law Office of Kevin G. Little
                                                   Attorney for Defendant
 9                                                 Abraham Chavez
10
11
12                                                ORDER
13          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
14 appearance may be waived at any and all non-substantive proceedings until further order.1
15 IT IS SO ORDERED.
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          Dated:    January 11, 2018
17                                                      UNITED STATES DISTRICT JUDGE
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28       The court notes, however, that the January 16, 2018 status conference referred to by counsel
         in the request has been continued to June 18, 2018.
     REQUEST FOR RULE 43 WAIVER OF APPEARANCE FOR DEFENDANT ABRAHAM CHAVEZ; ORDER THEREON
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